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NOT FOR PUBLICATION

                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY



 QUINTILES IMS INCORPORATED                           Civil Action No. 17-177 (CCC)
 and IMS SOFTWARE SERVICES,

            Plaintiffs-
            Counterclaim Defendants,

 v.
                                                        MEMORANDUM OPINION

 VEEVA SYSTEMS, INC.,

            Defendant-
            Counterclaim Plaintiff.



FALK, U.S.M.J.

       This matter is before the Court on the motion of Defendant, Veeva Systems, Inc.,

to transfer the case to the United States District Court for the Northern District of

California, pursuant to 28 U.S.C. § 1404(a). [ECF No. 11.] The motion is opposed. It is

decided on the papers submitted. Fed. R. Civ. P. 78(b). For the reasons that follow, the

motion is DENIED.

                                      BACKGROUND

       Plaintiff Quintiles IMS is a Delaware corporation with dual corporate headquarters

in Danbury, Connecticut and Durham, North Carolina. (Compl., ¶11.) Plaintiff IMS

Software Services is Delaware corporation with headquarters in North Carolina.
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(Compl., ¶ 12.) Quintiles and IMS (together, “IMS”) are engaged in the business of

providing market research, analytics, technology and services to the life sciences, medical

device, and diagnostics and healthcare industries. (Compl., ¶ 13.) Veeva Systems, Inc., a

Delaware corporation with its principal place of business in Pleasanton, California, is an

information and technology services company and competitor of IMS. (Compl., ¶¶ 15-

16.)

       This case involves IMS’s claim that Veeva has engaged in corporate theft and

misconduct, including the repeated misuse and mishandling of confidential and

proprietary information over a period of years. (Compl., ¶ 1.) The Complaint alleges

that IMS provides clients with, inter alia, market research products that combine

healthcare data, market research, and proprietary analytics (“IMS Market Research

Offerings”), which it invests hundreds of millions of dollars a year to build and improve

upon. (Compl., ¶¶ 13, 17.) At times, IMS granted Veeva access to IMS confidential and

proprietary information through Third Party Limited License Agreements. IMS contends

that, among other things, Veeva used IMS confidential and proprietary information

improperly and for the purpose of developing and improving Veeva’s own data and

technology products, and to assist in marketing and promoting Veeva’s competing brand.

(Compl., ¶¶ 2-4.)

       On January 10, 2017, the Complaint was filed, alleging that the above misuse and

mishandling of confidential information gives rise to the following claims: (1) Federal

Theft of Trade Secrets, the Defend Trade Secrets Act, 18 U.S.C. § 1836, et seq.; (2) Theft

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of Trade Secrets (New Jersey state law; N.J.S.A. § 56:15); (3) Tortious Interference (New

Jersey state law); (4) Federal False and Misleading Advertising, in violation of the

Lanham Act, 15 U.S.C. § 1125(A); (5) Unfair Trade Practices (New Jersey state law);

and (6) Unjust Enrichment (New Jersey state law).

       On March 13, 2017, Veeva filed a motion for partial dismissal, pursuant to Federal

Rule of Civil Procedure 12(b)(6), seeking to dismiss IMS’s New Jersey state law claims.

Veeva filed an answer to the remainder of the Complaint and asserted counterclaims,

based on alleged antitrust violations. In addition, Veeva filed the current motion to

transfer this case to the United States District Court for the Northern District of California

pursuant to 28 U.S.C. § 1404(a).

       IMS opposed the motions for partial dismissal and transfer, and filed its own

motion to dismiss Veeva’s counterclaims.

       Veeva argues that the case should be sent to California because IMS is “foreign”

to New Jersey and because the central facts underlying the claims arose outside the State.

It further argues that California law should apply, and, in general terms, that proceeding

in California would be more convenient for the parties and witnesses.

       IMS counters that it has a strong business presence in New Jersey, including four

offices and over 700 employees. IMS contends that New Jersey is the focus of much of

its business operations, including much of the information at issue in the case, and that

many of the employees directly involved in the case, including senior personnel, work in

New Jersey. IMS further contends that it has comparatively small operations in

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California, and that all of the private and public interest factors strongly weigh in favor of

keeping the case in the forum in which it was filed.

                                       DISCUSSION

A.     Transfer of Venue pursuant to 28 U.S.C. § 1404(a)

       Section 1404(a) provides broad authority to transfer a case to another district

“where it may have been brought,” when doing so is “in the interest of justice” and serves

“the convenience of parties and witnesses.” 28 U.S.C. § 1404(a). The decision to

transfer a case under Section 1404(a) is discretionary. See Plum Tree, Inc. v. Stockment,

488 F.2d 754, 756 (3d Cir. 1973); Cadapult Graphic Sys., Inc.v. Tektronix, Inc., 98 F.

Supp. 2d 560, 564 (D.N.J. 2000). The purpose of section 1404(a) “is to prevent the waste

of ‘time, energy, and money’ and to ‘protect litigants, witnesses and the public against

unnecessary inconvenience and expenses . . . .’” Ricoh Co., ltd. v. Honeywell, Inc., 817 F.

Supp. 473, 479 (D.N.J. 1993) (quoting Van Dusen v. Barrack, 376 U.S. 612, 616 (1964)).

The moving party bears the burden of establishing the need for transfer, and a plaintiff’s

choice of forum “should not be lightly disturbed.” See CIBC World Mkts., Inc. v.

Deutsche Bank Sec., Inc., 309 F. Supp. 2d 637, 643 (D.N.J. 2004); see also Shutte v.

Armco Steel Corp., 431 F.2d 22, 25 (3d Cir. 1970). The burden of establishing the “need

to transfer rests with the movant to show that the balance of the parties and witnesses

strongly favors the defendants.” Medtronic, Inc. v. Boston Scientific Corp., 587 F. Supp.

2d 648, 654 (D. Del. 2008) (internal cites and quotes omitted; emphasis added).




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B.     Balance of Interests

       The transfer statute identifies certain criteria to be considered: convenience of

parties, convenience of witnesses, and the interest of justice. 28 U.S.C. § 1404(a). The

Third Circuit has articulated a more comprehensive list of public and private concerns

implicated by § 1404(a). Private concerns include but are not limited to: (1) plaintiff’s

original choice of venue; (2) defendant’s forum preference; (3) where the claim arose; (4)

convenience to the parties in light of their financial and physical condition; (5)

availability of witnesses in each of the fora; and (6) the location of books and records.

Jumara v. State Farm Ins. Co., 55 F.3d 873, 879 (3d. Cir. 1995). Public concerns include

but are not limited to: (1) the ability of each forum to enforce the judgment; (2) practical

considerations that would make trial more expeditious or inexpensive; (3) court

congestion; (4) local interest in deciding the controversy; (5) public policies of each fora;

and (6) familiarity with state law in diversity cases. Id. Thus, courts consider “all

relevant factors to determine whether on balance the litigation would more conveniently

proceed and the interest of justice be better served by transfer to a different forum.” Id.;

see also Clark v. Burger King Corp., 255 F.Supp.2d 334, 337 (D.N.J. 2003). The

“analysis is flexible and must be made on the unique facts of each case.” Calkins v.

Dollarland, Inc., 117 F. Supp. 2d 421, 428 (D.N.J. 2000) (citations omitted).




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       1.     Private Interest Factors

              i.     Plaintiff’s Forum Selection

       Within the Third Circuit, a plaintiff’s choice of forum has been described as a

“paramount concern” in deciding a motion to transfer venue. Shutte, 431 F.2d at 25.

The plaintiff’s chosen forum is generally entitled to significant deference. Id. When the

forum selected is a plaintiff’s home forum, the deference becomes even more

pronounced. See Piper Aircraft Co. v. Reyno, 454 U.S. 235, 255 (1981). However, if the

plaintiff chooses a foreign forum with little connection to the operative facts of the

lawsuit, the deference is lessened. See, e.g., Wm. H. McGee & Co. v. United Arab

Shipping Co., 6 F. Supp. 2d 283, 290 (D.N.J. 1997).

       Much of Veeva’s transfer motion focuses on the argument that IMS is not

incorporated in New Jersey and does not have its formal principal place of business in the

State, rendering New Jersey a foreign forum with little connection to the suit. Veeva then

claims, despite admitting that it is subject to personal jurisdiction in New Jersey and that

venue is proper here, that California would simply be a more convenient forum. The

Court strongly disagrees.

       All agree that IMS is incorporated in Delaware and has its corporate headquarters

in Connecticut and North Carolina. But IMS’s selection of New Jersey as the forum for

this suit is eminently reasonable when the entirety of Plaintiff’s business operations and

structure is analyzed. A list of IMS’s connections to New Jersey is overwhelming:




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         • It conducts a significant portion of its business in this State and derives
           substantial revenue from services rendered in this District;

         • It has four offices in New Jersey employing over 700 people, with one of
           its largest offices located in Parsippany totaling over 83,000 square feet.
           The facility is located on a street named “IMS Drive” in Parsippany;

         • Its Parsippany office is home to certain members of IMS’s senior
           leadership team – including legal, finance, human resources, and corporate
           development;

         • Its Parsippany office houses employees with various responsibilities
           relating to . . . information services, including product management, sales,
           service and support, development and production of the market research
           offerings at issue in the Complaint;

         • Its major data center and employees with responsibilities for technology
           solutions business are located within New Jersey;

         • A substantial number of IMS employees with responsibility for sales,
           services, infrastructure delivery, management and operations are located
           within New Jersey;

         • Three of its five Sales Vice President, Regional Leaders, in the U.S.
           responsible for managing its client relationships nationwide are located in
           Parsippany;

         • A significant [number] of IMS employees relevant to MDM, CRM, and/or
           reference data are located in the New Jersey area. Its global technology
           solutions team, tasked with creating its technology products such as CRM
           and MDM, its MDM product development director, its MDM and CRM
           application engineering leads, and head of its MDM Center of Excellence
           are located in New Jersey or in nearby Pennsylvania;

         • The Parsippany office is home to the executive responsible for IMS’s TPA
           program, which will be relevant to both IMS’s claims and Veeva’s
           counterclaims and is in close proximity to the rest of the TPA contracting
           team located at IMS’s Plymouth Meeting, Pennsylvania office.




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(Declaration of Harvey Ashman (“Ashman Decl.”) ¶¶ 5-20.) 1

       These are substantial and meaningful connections between IMS, New Jersey, and

this case. Nevertheless, Veeva strains to avoid the New Jersey connection by claiming

that IMS is attempting to “import” New Jersey as its “home turf” and secure the

supposedly strong deference that would be afforded such a selection. But that is a

technical argument that misses the point.

       A transfer analysis does not reflexively turn on a sliding scale of theoretical

deference to a single factor embedded in a discretionary decision. As to the Plaintiff’s

forum choice, the overarching question is genuine inconvenience and the interest of

justice. The true inquiry is whether a plaintiff is forum shopping and whether the

selected venue bears no real connection to the parties and facts. That is not this case. A

plaintiff’s choice of forum is sensible provided the forum was selected “for some

legitimate reason.” Medtronic, 587 F. Supp. 2d at 655 (emphasis added). On what has

been presented, it is beyond question that New Jersey is a legitimate venue.

       Moreover, even assuming New Jersey was not IMS’s home forum, the choice of

forum still remains “of paramount consideration, and the burden remains at all times on

the defendants to show that the balance of convenience and the interest of justice weigh

strongly in favor of transfer.” Id. (citing In re ML-Lee Acquisition Fund II, L.P., 816 F.

Supp. 973, 976 (D. Del. 1993)). Here, Veeva’s primary argument is a technical legal


       1
       Mr. Ashman is Senior Vice President and General Deputy Counsel to Quintiles
IMS Incorporated. (Ashman Decl., ¶ 1.) Mr. Ashman’s primary work location is at IMS
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argument about the precise level of deference to give to IMS’s choice of New Jersey,

which is largely immaterial. Such relatively abstract arguments are not what the interest

of justice of standard should be about. In other words, IMS selected New Jersey “for

some legitimate reason,” regardless of whether it is incorporated here or maintains its

official principal place of business in the State. Plaintiff’s choice of New Jersey as the

forum to file this suit is not only plainly appropriate, but—because of the facts—would

likely be more than sufficient to transfer the case to New Jersey if it had been filed in

California. This factor strongly opposes transfer.

              ii.    Where the Claims Arose

       The second factor is where the claims in the case arose. Veeva contends

IMS’s complaint alleges a company-wide effort to steal trade secrets and misappropriate

confidential information, which would, it contends, mean that the claims arose in

California.

       IMS contends that key statements and alleged admissions in the Complaint were

made at meetings in New Jersey in August 2016; that the parties commonly entered into

TPA agreements allowing Veeva access to IMS’s product, which are governed by New

Jersey law; that Veeva employees called IMS employees in New Jersey and made

statements material to the allegations of the Complaint; that an audit referenced in the

Complaint was conducted by a New York firm, with the principal auditor and at least one

other working in New Jersey; that IMS’s presence in New Jersey, whether incorporated


Drive in Parsippany. (Id.)
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 here or otherwise, is the logical point where alleged harm occurred and where many of

 the impacted clients are located; and finally, that Veeva’s antitrust counterclaims will

 likely involve the New Jersey pharmaceutical industry and, if they proceed, discovery

 from those companies and their representatives in New Jersey. (Pl.’s Br. 8-9.)

        What policies and procedures were allegedly set and where is really a fact issue

 subject to discovery and not persuasive in this transfer analysis. Such a determination

 would likely require additional discovery and parsing of each allegation of the Complaint

 to determine where each individual claim arose, including the parties’ dispute over what

 state’s law should apply to state law claims. From the record presented, it does seem that

 many, if not all, of the claims may have accrued in New Jersey. Certainly to the extent

 the alleged New Jersey state law claims remain in the case, it would suggest claims

 accrued in New Jersey. That said, nothing conclusive has been shown either way.

 Therefore, Veeva has not shown that this factor supports transfer.

               iii.   Convenience of the Parties & Witnesses

        The next private interest factors, the convenience of the parties and the witnesses,

 do not support transfer. As it relates to the parties, both Plaintiff and Defendant are

 Delaware corporations, a next-door neighbor to New Jersey. IMS is also headquartered

 in Connecticut and North Carolina (both on the East Coast), as well as having a

 substantial presence in New Jersey as has been described. Veeva has its principal offices

 in California. However, Veeva also admits to having dealings, meetings, and customers

 in New Jersey, as well as conducing substantial business in New York. In fact, Veeva

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 has an office in Princeton, New Jersey, and employs approximately 65 individuals in this

 State that may relate to the products at issue in the case. (Pl.’s Br. 7.) Similarly, it

 appears that the entity responsible for Veeva’s competing health care data service is

 located in Fort Washington, Pennsylvania. (Id.) Finally, as IMS points out, Veeva

 identifies 77 clients on its website and “11 have their U.S. headquarters in New Jersey

 and another 10 have headquarters in Pennsylvania, Connecticut, New York or Delaware,”

 while only 12 have headquarters in California. (Id.)

        The indisputable reality is no legal or factual basis to send this case across the

 Country has been shown; it’s just what Veeva would like to happen. IMS, on the other

 hand, would incur palpable inconvenience if the matter was transferred away from New

 Jersey to California. The contacts and presence IMS has in New Jersey overwhelm the

 limited contacts it has with California. Not to mention the New Jersey IMS employees

 that would have to travel to California.

        Transfer is not about shifting inconvenience from the party being sued to the party

 suing. See, e.g., Superior Precast, Inc. v. Safeco Ins. Co. of Am., 71 F. Supp. 2d 438, 446

 (E.D. Pa. 1999) (“the purpose of transfer is not to shift the inconvenience from one party

 to the other. [T]he defendant must show that its alternative forum is more convenient.”).

 Both parties are large companies with varied dealings—much apparently occurring in and

 around New Jersey—and financial status is not an issue. See Santi v. Nat’l Business

 Records Mgmt., LLC, 722 F. Supp. 2d 602, 608 (D.N.J. 2010) (courts look to the relative

 physical and financial condition of the parties). The case has been filed in New Jersey in

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 which both Plaintiff and Defendant conduct substantial business and which borders on

 the state of Defendant’s incorporation and business interests. “Unless the defendant can

 show that the inconvenience to the parties strongly favors its preference, plaintiff’s

 choice of forum should prevail.” Santi, 722 F. Supp. 2d at 607. No such showing has

 been made here.

        The same is especially true of non-party witnesses. Compulsory process over non-

 party witnesses has been referred to as the single most important factor in a Section 1404

 analysis. See Teleconference Sys., 676 F. Supp. 2d at 333 (citing Genetech, Inc., 566

 F.3d 1338 (Fed. Cir. 2009)); see also LG Elecs., Inc. v. First Int’l Computer, Inc., 138 F.

 Supp. 2d 574, 590-91 (D.N.J. 2001). Here, Veeva does not identify any non-party

 witnesses in California that would be unavailable in New Jersey, and certainly not with

 the specificity required to meet its burden of showing inconvenience that would warrant

 transfer of the case. See, e.g., Bachmann Software & Servs, v. Intouch Group, Inc., 2008

 WL 2875680 (D.N.J. July 22, 2008 (“The party seeking transfer should support its

 motion with affidavits and other documentation that establishes that the interest of justice

 and convenience of the parties would best be served by transfer.”); see also Plum Tree,

 Inc. v. Stockment, 488 F.2d 754, 756-57. 1 On the other hand, IMS explains that part of


 1
  With regard to convenience of the witnesses, the Plum Tree court noted that a party
 seeking transfer should provide:

               a list of the names and address of witnesses whom the moving party plans
               to call and affidavits showing the materiality of the matter to which these
               witnesses will testify, statements by the moving parties of the business
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 the reason the case was filed in New Jersey is the proximity to the pharmaceutical

 industry in New Jersey, and its suggestion that, given the nature of the product at issue, it

 would be likely that customers in and around the New Jersey area could be witnesses in

 the case. 2

        The parties appear to be of comparable financial means, each claims convenience

 in a different state, and no non-party witnesses have been identified that would benefit

 from a transfer to California. This important factor does not support transfer.

        The private interest factors all support keeping the case in New Jersey and do not

 support transfer.

        2.     Public Interest Factors

        The public factors are secondary to the private factors and it has been implied

 will rarely control transfer. See, e.g., Atl. Marine Cstr. Co. v. U.S. Dist. Ct. for the W.

 Dist. of Texas, 134 S. Ct. 568, 582 (2013). Here, they are only lightly argued and do not

 support transfer. First, the time to trial between the Northern District of California and

 New Jersey is negligible and insufficient to justify transfer. See, e.g., Church & Dwight


               difficulties or personal hardships that might result from their having to
               defend against the suit in the district court where it was originally brought,
               affidavits concerning the relative ease of access to sources of documentary
               evidence, and other materials where appropriate.

 488 F.2d at 757 n.2.
        2
          Veeva contends that certain of its employees are in California, but that does not
 effectively bear on the transfer analysis. See Atanassov v. Amspec Servs., LLC, 2016
 U.S. Dist. LEXIS 22334, at *15 (D.N.J. Feb. 24, 2016) (“The convenience of witnesses
 who are employees of a party carries no weight because the parties are obligated to
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 v. Mayer Labs, Inc., 2010 U.S. Dist. LEXIS 10939, at *34 (D.N.J. Sept. 28, 2010)

 (comparing N.D. Cal. and D.N.J. are concluding “that both districts are among the most

 congested in the country, thus, this factor is neutral”).

        Second, the Complaint, as it currently stands, contains New Jersey state law

 claims, giving New Jersey a palpable interest in the dispute. This interest is magnified by

 the fact that IMS has a substantial office in the state and that the claims in the Complaint

 and in Veeva’s counterclaims touch upon the pharmaceutical industry, which has a heavy

 presence in New Jersey.

        Third, the parties disagree whether New Jersey or California law will ultimately

 apply in the case, but it makes little difference, as a federal judge in either state can apply

 the law equally. See, e.g., Atl. Marine, 134 S. Ct. at 584 (“federal judges routinely apply

 the law of a State other than the State in which they sit”).

                              *              *               *

        IMS filed this case in a district in which it has large operations and conducts

 substantial business. Veeva has not shown that transfer to California is in the interest of

 justice or supported by any of the public or private factors. Indeed, the papers suggest the

 opposite: this case belongs in New Jersey.




 procure their attendance at trial).
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                                         CONCLUSION

       For the reasons set forth above, Defendant’s motion to transfer venue is DENIED.

 An appropriate order will be entered.




                                         s/Mark Falk________________
                                         MARK FALK
                                         United States Magistrate Judge


 DATED: June 23, 2017




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